  Case 1:11-cr-00113-WBH-LTW Document 78 Filed 05/29/12 Page 1 of 8




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

RIGAUD CADET,                             ·...     MOTION TO VACATE
    Movant,                               ....     28 U.S.C. § 2255
                                          ....
      v.                                  ....     CRIMINAL ACTION NO.
                                          ·...     1:11-CR-113-WBH-LTW-1
                                            ....
UNITED STATES OF AMERICA,                  ··..    CIVIL ACTION NO.
    Respondent.                           ....     1: 12-CV-1632-WBH-LTW

                 FINAL REPORT AND RECOMMENDATION

      Movant, pro se, has filed a motion to vacate, set aside, or correct sentence under

28 U.S.C. § 2255.     (Doc. 76.) Under Rule 4 of the Rules Governing § 2255

Proceedings for the U.S. District Courts, the Court must "promptly examine" the

motion and determine whether "it plainly appears from the motion, any attached

exhibits, and the record of prior proceedings that the moving party is not entitled to

relief." If it does so appear, the Court "must dismiss the motion." Rule 4, § 2255

Proceedings. The undersigned has examined Movant's § 2255 motion, the exhibit he

attached to it, and the record of prior proceedings in this case and finds it plainly

apparent that Movant is not entitled to the relief he seeks.

      On October 27, 2011, Movant pled guilty, pursuant to a negotiated plea

agreement, to one count of knowingly making a false statement in an application for
  Case 1:11-cr-00113-WBH-LTW Document 78 Filed 05/29/12 Page 2 of 8




a U.S. passport. (Docs. 11,44,44-1.) Movant's plea agreement contained a limited

waiver of appeal, which bars him from challenging his conviction or sentence via

direct appeal or a § 2255 motion. (Doc. 44-1 at 7.) On January 11,2012, the Court

sentenced Movant to eleven months in prison, with credit for time he had served in j ail

before sentencing. (Doc. 57.) Movant had served at least eleven months injail as of

the date he was sentenced and, thus, was not sent to prison. (See Doc. 66.)

      Movant is a citizen of Haiti who was not a lawful U.S. resident at the time he

was arrested in this case, i.e., he was an illegal alien. (Movant's Pretrial Services

Report, Feb. 22, 2011 (stating that federal immigration records confirmed, at the time

of Movant's arrest, that he was an illegal alien); Movant's Presentence Investigation

Report, Nov. 28, 2011 ("PSR").y Thus, when Movant was sentenced in January, the

Bureau of Immigration and Customs Enforcement ("ICE") took custody of him and

began proceedings to remove him from this county. Movant currently is in ICE

custody at the Irwin County Detention Center in Ocilla, Georgia. (Doc. 76.)


      1  The pretrial services report and the PSR are in the Court's files, but are not
part of the public record of this case given the confidential information regarding
Movant and others contained in those reports. Movant did not object in this case to
the facts in those reports concerning his illegal residence in the U.S. Indeed, Movant
provided much of the information contained in the reports, including information
regarding his immigration history and status. The Court takes judicial notice of the
pertinent facts in those official court records. See Fed. R. Evid. 201.

                                           2
  Case 1:11-cr-00113-WBH-LTW Document 78 Filed 05/29/12 Page 3 of 8




      In his § 2255 motion, Movant contends that his counsel in this case, William

Michael Moran, provided ineffective assistance by wrongly advising him of the

immigration consequences ofhis guilty plea. (Id. at 2-3.) Movant specifically alleges

that Moran told him that because he had lived in the U.S. for a long period of time,

"deportation would not be an issue for him" ifhe pled guilty in this case. (Id. at 3.)

Movant argues that Moran's advice was wrong because the crime to which he pled

guilty subjects him to deportation. (Id. at 2-3.) Movant contends that if Moran had

properly advised him ofthe immigration consequences ofa conviction, he would have

went to trial rather than pleading guilty. (Id. at 3.) Relying on Padilla v. Kentucky,

130 S. Ct. 1473 (2010), Movant therefore argues that his guilty plea is invalid and that

his conviction and sentence should be set aside under § 2255.

      To prevail on a § 2255 motion, the movant must demonstrate that: (1) the

sentence was imposed in violation ofthe Constitution or laws ofthe United States; (2)

the Court was without jurisdiction to impose such a sentence; (3) the sentence

exceeded the maximum sentence authorized by law; or (4) the sentence is otherwise

subject to collateral attack. 28 U.S.C. § 2255. "To obtain collateral relief, a [movant]

must clear a significantly higher hurdle than would exist on direct appeal." United

States v. Frady, 456 U.S. 152, 166 (1982). A criminal defendant who executes a plea

                                           3
  Case 1:11-cr-00113-WBH-LTW Document 78 Filed 05/29/12 Page 4 of 8




agreement with the government may waive his right to file a § 2255 motion, as

Movant did here, and the waiver will be enforced if it is made knowingly and

voluntarily. Williams v. United States, 396 F.3d 1340, 1342 (11 th Cir. 2005); United

States v. Bushert, 997 F.2d 1343, 1350-51 (1Ith Cir. 1993). However, an appeal

waiver likely does not waive the right to challenge the validity of the plea, of which

the waiver is a part, itself. Williams, 396 F.3d at 1342 n.2; Patel v. United States, 252

F. App'x 970, 974-75 (1Ith Cir. 2007) (holding that movant's claim in his § 2255

motion "explicitly challeng[ing] the validity of his guilty plea" was not barred by

provision in plea agreement waiving his right to appeal or file a § 2255 motion).

      Because Movant challenges the validity of his guilty plea and the associated

plea agreement, the appeal waiver in the agreement likely does not bar his § 2255

motion. See id. The sole claim in his motion nevertheless fails on its merits. The

basis of Movant's claim that his guilty plea is invalid is that Moran provided

ineffective assistance in violation of his constitutional right to effective assistance of

counsel. (Doc. 76.)

      To establish ineffective assistance ofcounsel, a § 2255 movant must show that

his counsel's performance was deficient such that it was below objectively reasonable

standards, and that the deficient performance prejudiced the movant. Strickland v.

                                            4
  Case 1:11-cr-00113-WBH-LTW Document 78 Filed 05/29/12 Page 5 of 8




Washington, 466 U.S. 668, 688, 692 (1984). Under the first prong ofthe test, a court

should be "highly deferential" in scrutinizing counsel's performance, id. at 689, and

"must indulge the strong presumption that counsel's performance was reasonable and

that counsel made all significant decisions in the exercise of reasonable professional

judgment," Chandler v. United States, 218 F.3d 1305, 1314 (lIth Cir. 2000). Under

the second prong ofthe test, a court determines whether counsel's challenged acts or

omissions prejudiced the movant, i.e., whether "there is a reasonable probability that,

but for counsel's unprofessional errors, the result ofthe proceeding would have been

different." Strickland, 466 U.S. at 694.

      In Padilla, the Supreme Court held that a criminal defense attorney may render

constitutionally ineffective assistance by failing to advise his non-citizen client ofthe

risk of deportation associated with a guilty plea. Padilla, 130 S. Ct. at 1486. The

Supreme Court held that defense counsel in Padilla was constitutionally deficient in

misadvising his client about the risk of deportation ifthe client pled guilty to a crime.

Id. at 1478. The Supreme Court remanded the case for a determination ofwhether the

erroneous advice prejudiced the defendant. Id. at 1486-87. Movant's claim in his

§ 2255 motion is very similar to the petitioner's claim in Padilla. (See Doc. 76.) The

only harm Movant contends he suffered as a result of Moran's alleged misadvice is

                                           5
  Case 1:11-cr-00113-WBH-LTW Document 78 Filed 05/29/12 Page 6 of 8




deportation from the U.S. because he pled guilty to the charged crime. 2 (Jd.)

      Movant cannot show that he was prejudiced by Moran's allegedly erroneous

advice that he would not be deported ifhe pled guilty because Movant was subject to

deportation as an illegal alien regardless of whether he was convicted in this case.

Movant was not a legal resident ofthe U.S. when he committed the crime to which he

pled guilty. (Movant's Pretrial Services Report, Feb. 22, 2011; Movant's PSR.)

Movant therefore was subject to deportation even ifhe had been acquitted after a trial

or even ifhe had never been indicted. Thus, Moran's allegedly erroneous advice that

Movant contends caused him to plead guilty could not have prejudiced him because

he faced deportation no matter what happened in this case.

      Several federal courts have held that criminal defendants who were illegal

aliens when they committed their crimes cannot show the prejudice required to prevail

on a claim of ineffective assistance ofcounsel grounded in Padilla. See United States

v. Perea, No. 08-20 160-08-KHV, 2012 WL 851185, at *5 n.4 (D. Kan. Mar. 8,2012)

("In light of the fact that defendant was already subject to deportation [as an illegal

alien], he has not shown how he could have rationally rejected the plea agreement,



      2 Movant does not claim that he is innocent ofthe crime to which he pled guilty
or that he believes he would have been acquitted had he went to trial. (Doc. 76.)

                                          6
  Case 1:11-cr-00113-WBH-LTW Document 78 Filed 05/29/12 Page 7 of 8




proceeded to trial and subjected himselfto a maximum term oflife in prison."); United

States v. Aceves, No. 10-00738 SOMILEK, 2011 WL 976706, at *5 (D. Haw. Mar. 17,

2011) (holding that § 2255 movant who was an illegal alien "would not have been

transformed into a legal resident .... even ifhe had [went to trial and] been acquitted"

and, thus, "it was not his conviction that made him removable"); United States v.

Gutierrez Martinez, No. 07-91(5) ADMlFLN, 2010 WL 5266490, at *4 (D. Minn.

Dec. 17, 2010) (holding that because § 2255 movant was an illegal alien when he

committed his crime, "his guilty plea had no bearing on his deportability" and, thus,

his ineffective assistance claim failed); see also Limones v. United States, No.1 :07­

CR-356-5-TWT, 2011 WL 1157371, at *5 (N.D. Ga. Mar. 29, 2011) (holding that

§ 2255 movant could not show prejudice on his Padilla claim because he had planned,

prior to his arrest, to return to his home in Mexico). The same reasoning applies to

Movant's Padilla claim, thus precluding the relief he seeks under § 2255.

      For the foregoing reasons, IT IS RECOMMENDED that Movant's motion to

vacate his conviction under 28 U.S.C. § 2255 [76] be DENIED under Rule 4 of the

Rules Governing § 2255 Proceedings for the U.S. District Courts. See Day v.

McDonough, 547 U. S. 198,209-10 (2006) (holding that district courts may sua sponte




                                           7
  Case 1:11-cr-00113-WBH-LTW Document 78 Filed 05/29/12 Page 8 of 8




dismiss habeas petitions after affording the parties fair notice).3 IT IS FURTHER

RECOMMENDED that Movant be DENIED a certificate of appealability because

it is not reasonably debatable that Movant cannot show the prejudice necessary to

prevail on his claim of ineffective assistance of counsel. See 28 U.S.C. § 2253(c)(2);

Slackv. McDaniel, 529 U.S. 473, 483-84 (2000).

      SO RECOMMENDED this            4.2- day °rf '--V-~~~F----




      3 This Report and Recommendation provides such notice and, as indicated in
the attached Order for Service, an opportunity for the parties to file any objections.

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